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ELIZABETH MEDRANO
ALFREDO ESCOBEDO

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

ELIZABETH MEDRANO, CASE NO:
ALFREDO ESCOBEDO, Plaintiffs and COMPLAINT FOR DAMAGES:
as Successors-in-Interest for Decedent

Christian Escobedo. . Negligence (Wrongful Death)

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2. Violation of Federal Civil Rights (42
U.S.C. § 1983)

3. Municipal Liability — Inadequate

v. Training (42 U.S.C. § 1983)

. 4. Municipal Liability for Unconstitutional
CITY OF LOS ANGELES; and DOES 1 Custom, Practice, or Policy (42 U.S.C. §

THROUGH 10, inclusive. 1983)

5. Violation of Bane Act (Cal. Civil Code
Defendants. § 52.1)

[DEMAND FOR JURY TRIAL]

Plaintiffs,

 

 

COMPLAINT FOR DAMAGES
Plaintiffs, ELIZABETH MEDRANO, ALFREDO ESCOBEDO, individually, and
as successors-in-interest to CHRISTIAN ESCOBEDO, DECEDENT, for their complaint
against Defendants CITY of LOS ANGELES, and Does 1-10, inclusive, aver and allege

as follows:

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COMPLAINT FOR DAMAGES

 
 

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I.
JURISDICTION AND VENUE

1. This Court has original jurisdiction pursuant to 28 U.S.C. §§ 1331 and
1343(a)(3)-(4) because Plaintiffs assert claims arising under the laws of the United States
including 42 U.S.C. § 1983 and the Fourth and Fourteenth Amendments of the United
States Constitution. This Court has supplemental jurisdiction over Plaintiff's claims
arising under state law pursuant to 28 U.S.C. § 1367(a), because those claims are so
related to the federal claims that they form part of the same case or controversy under
Article HI of the United States Constitution.

2. Venue is proper in this Court under 28 U.S.C. § 1391(b) because Defendants
reside in the Central District of California, and all incidents, events, and occurrences

giving rise to this action occurred in the Central District.

If.
PARTIES

3, At all relevant times, CHRISTIAN ESCOBEDO (“DECEDENT’”) was an
individual residing in the County of Los Angeles.

4. Plaintiffs ELIZABETH MEDRANO, and ALFREDO ESCOBEDO, are
individuals residing in the County of Los Angeles, California and are the natural mother
and father of DECEDENT, and are suing in a representative capacity as successors-in-
interest to DECEDENT pursuant to California Code of Civil Procedure § 377.60.

5. At all relevant times, Defendant CITY OF LOS ANGELES (“CITY”) is, and
was, a municipal corporation existing under the laws of the State of California. CITY is a
chartered subdivision of the State of California with the capacity to be sued. CITY is
responsible for the actions, omissions, policies, procedures, practices, and customs of its
various agents and agencies, including the Los Angeles Police Department and its agents
and employees. At all relevant times, Defendant CITY was responsible for assuring that
the actions, omissions, policies, procedures, practices, and customs of the and its
employees and agents complied with the laws of the United States and of the State of
California. At all relevant times, CITY was the employer of Defendants DOES 1-10.

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COMPLAINT FOR DAMAGES

 
 

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6. At all times relevant hereto, DOES 1 through 10, were residents of the City
of Los Angeles, and at all times mentioned herein were acting under color of law, to wit,
under the color of the statutes, ordinances, regulations, policies, customs, and usages of
Los Angeles Police Department, and under the color of the statutes, regulations, and laws
of the State of California. Said Defendants were acting within their capacity as employees,
agents, representatives, employees, and servants of the Defendant CITY.

7. Defendants, DOES | through 10, as duly sworn peace officers, were
specifically authorized by the Los Angeles Police Department to perform the duties and
responsibilities of sworn officers and law enforcement officers of the Los Angeles Police
Department, and all acts hereinafter complained of were performed by each of them
within the course and scope of their duties as Police Officers for Defendant CITY OF
LOS ANGELES, and as law enforcement officers for the Los Angeles Police Department.
DOES i through 10 are also sued herein in their individual capacity and in their official
capacity as peace officers of the Los Angeles Police Department. Said Defendant CITY
encouraged, assisted, ratified and/or with deliberate indifference failed to prevent all of the
acts and omissions complained of herein.

8. The present Plaintiffs are ignorant of the true names and capacities of
defendants sued herein as DOES 1 through 10, and therefore sue these Defendants by such
fictitious names. Plaintiffs will amend this complaint to allege said Defendants’ true
names and capacities when ascertained. Plaintiffs are informed and believe and thereon
allege that each of the fictitiously named Defendants are responsible in some manner for
the occurrences herein alleged, and that Plaintiffs’ injuries as herein alleged were
proximately caused by the acts and/or omissions of said fictitiously named Defendants.

9. At all times mentioned herein, each and every Defendant was the agent of
each and every other Defendant and had the legal duty to oversee and supervise the hiring,
conduct, and employment of each and every Defendant.

10. All of the acts complained of herein by Plaintiffs against Defendants were
done and performed by said Defendants by and through their authorized agents, and
employees, all of whom at all relevant times herein were acting within the course,
purpose, and scope of said agency, and employment. CITY ratified all of the acts herein.

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TI.
FACTS COMMON TO ALL CAUSES OF ACTION

11. Plaintiffs re-allege and incorporate by reference herein each and every
allegation contained herein above as though fully set forth and brought in this cause of
action.

12. On or about January 14, 2018, CHRISTIAN ESCOBEDO was wrongfully
shot and killed by Los Angeles police Officers, DOES 1 -10, who unjustifiably used
excessive deadly force and fired their guns at Decedent CHRISTIAN ESCOBEDO.
DECEDENT was asleep around 6:00 a.m. in the morning, in a sidewalk/driveway, when
Los Angeles police Officers, DOES 1-10, came up to DECEDENT and started shooting
immediately at DECEDENT.

13. Prior to the shooting, Los Angeles Police officers, DOES 1-10, approached
the DECEDENT and without justification shot and killed the DECEDENT. The Los
Angeles Police Officers, DOES 1-10, shot and killed an unarmed victim. DOES 1-10
intentionally or negligently shot and killed Decedent CHRISTIAN ESCOBEDO. During
this time, there were no reports to, or from, the Los Angeles Police Department that the
DECEDENT caused any harm to any persons or caused any property damage, or that he
presented an immediate threat of death or serious bodily injury to anyone, including Los
Angeles Police Officers.

14. Plaintiffs are informed and believe that CITY and its Police Department were
obligated to provide proper training to its police officers. The intentional and negligent
conduct of DOES 1-10 was a result of the negligent employment, negligent retention,
negligent training, and negligent supervision by the Defendant CITY.

15. The intentional, and/or negligent use of deadly force by the Los Angeles
Police Officers, DOES 1-10, was a result of the negligent employment, negligent
retention, negligent supervision, and negligent training of the CITY OF LOS ANGELES.
The intentional, reckless, negligent, and unjustified use of deadly force by the Los
Angeles Police Officers, DOES 1-10, was a result of the negligent training of Los Angeles
Police Officers by the CITY of LOS ANGELES who failed to train Los Angeles Police
Officers, such as DOES 1-10, as to proper police tactics, proper situational awareness,

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proper use of force, proper use of deadly force, and proper detention and arrest
procedures. The CITY of LOS ANGELES was responsible for the training of Los Angeles
Police Officers to ensure that the actions, procedures, and practices of Los Angeles Police
Officers complied with POST training standards regarding proper police tactics, and
proper use of deadly force. These failures to train by the CITY of LOS ANGELES
manifested a deliberate indifference to the civil rights of the residents of the City of Los
Angeles.

16. CITY Of LOS ANGELES, the CHIEF of the Los Angeles Police
Department, Commanders, Captains, and other high ranking supervisors of the Los
Angeles Police Department, negligently failed to train Los Angeles Police Officers, such
as DOES 1-10, in conformity with POST training standards regarding proper police
tactics, proper use of force, proper use of deadly force, and proper detention and arrest
procedures. Peace Officer Standards and Training (POST) was established by the
California Legislature in 1959 to set minimum training standards for California law
enforcement officers. The CITY OF LOS ANGELES, and high ranking supervisors,
ratify, condone, and acquiesce in the negligent and/or excessive use of force by its police
officers, acting under color of law. The failure to train by the CITY of LOS ANGELES
manifested a deliberate indifference to the civil rights of the residents of the City.

17. The CITY OF LOS ANGELES, the CHIEF of the Los Angeles Police
Department, Commanders, Captains, and other high ranking supervisors of the Los
Angeles Police Department; negligently failed to train Los Angeles Police Officers, such
as DOES 1-10, in conformity with POST training standards regarding proper police
tactics, proper use of force, proper use of deadly force, and proper detention and arrest
procedures; negligently failed to properly train City of Los Angeles Police Officers, such
as DOES 1-10, to de-escalate situations and interactions with City of Los Angeles
residents so as to avoid the use of force, and the use of deadly force. These negligent
failures of the CITY OF LOS ANGELES caused Los Angeles Police Department
Officers, such as DOES 1-10, to escalate their interactions with residents and to overreact
and resort to use of deadly force when use of force is not necessary. These negligent
failures to properly train City of Los Angeles Police Officers, such as DOES 1-10, was the

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proximate cause of the shooting of CHRISTIAN ESCOBEDO on January 14, 2018, who
was wrongfully shot and killed by LAPD Police Officers, DOES 1-10. These failures to
train by the CITY of LOS ANGELES manifested a deliberate indifference to

the civil rights of the residents of the City of Los Angeles.

18. The CITY OF LOS ANGELES, the CHIEF of the Los Angeles Police
Department, Commanders, Captains, and other high ranking supervisors, ratify, condone,
and acquiesce in the filing of false police reports to “cover up” the negligent and/or
excessive use of force; and ratify, condone, and acquiesce, in the falsification of evidence,
the “planting” of evidence to “cover up” the negligent and/or excessive use of force, and
other Police Department misconduct.

19. Plaintiffs are informed and believe that CITY and Police Department lacked
appropriate procedure, policy and training on how to effectuate contact with an armed
individual and should have used other less deadly, reasonable methods of initiating
contact with the DECEDENT, other than shooting at and killing the DECEDENT.

20. Plaintiffs are informed and believe that CHRISTIAN ESCOBEDO’s death
came about as a result of the CITY and the Police Department’s lack of implementation of
proper procedure and training. If City of Los Angeles Police Officers, such as DOES 1-10,
had been properly trained, and had such training been properly implemented, the death of
DECEDENT would have occurred. .

21. Plaintiffs are informed and believe that prior to the shooting and at the time
of the shooting, Defendants failed to ascertain whether or not the DECEDENT was a
threat to himself or others, or whether there was any immediate threat of death or serious
bodily injury to others.

22. Prior to the shooting, the DECEDENT and his friend had walked a distance
of approximately nine (9) miles starting around 1:30 a.m. DECEDENT walked for several
hours, from the city of South El Monte, to the location of the shooting on Amethyst
Avenue, Los Angeles. Due to the lengthy amount of time that it took for the DECEDENT
to walk from South El Monte to Amethyst Avenue, the DECEDENT became tired and had
fallen asleep, leaning against a tree planter on the corner of Amethyst Avenue at the time
when City of Los Angeles Police Officers came into contact with DECEDENT and his

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COMPLAINT FOR DAMAGES

 
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friend. Because the DECEDENT was asleep after having to walk such a long distance, the
DECEDENT was very tired and groggy and was not able to wake quickly, or respond
quickly enough to satisfy the Police Officers demands fast enough. Proper training of City
of Los Angeles Police Officers would have resulted in tactics using less deadly, and more
reasonable methods of initiating contact with the DECEDENT, other than shooting at and
killing of DECEDENT.

23. At the time of the shooting, DECEDENT was sitting or laying down upon the
pavement. At the time of the shooting, DECEDENT was unarmed.

24. At the time of the shooting, DECEDENT posed no imminent threat of death
or serious physical injury to any person, or any LAPD Officers such as DOES 1-10,
especially since he was unarmed.

25. _DECEDENT had not committed any crime, had not threatened anyone, was
not about to harm anyone, and posed no imminent threat of death or serious bodily injury
to anyone, such as DOES 1-10. As a result of the excessive use of deadly force,
DECEDENT endured severe pain and suffering, suffered blunt force trauma to his entire
body and extremities, and four gunshot wounds which ultimately lead to his death.

26. The use of deadly force against DECEDENT was excessive and objectively
unreasonable under the circumstances, especially because DECEDENT was sitting or
laying on the ground, surrounded by Officers, DOES 1-10, was unarmed and did not pose
an immediate threat of death or serious bodily injury to anyone at the time of the shooting.

27. Defendants did not timely summon medical care or permit medical personnel
to treat DECEDENT. The delay of medical care to DECEDENT caused DECEDENT
extreme physical and emotional pain and suffering, and was a contributing cause of
DECEDENT’s serious injuries and his ultimate death.

28. Asadirect and proximate result of all Defendants’ acts and omissions,
Plaintiffs have suffered the loss of love, affection, society, services, of DECEDENT. The
shooting of DECEDENT was totally unjustified in that DECEDENT was unarmed and did
not pose a threat to the safety of any of the officers. DECEDENT was asleep around 6:00-
6:30 a.m. in the morning, in a sidewalk/driveway, leaning against a tree planter, in an area
where students park their cars, when Officers DOES 1-10 shot and killed DECEDENT.

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FIRST CLAIM FOR RELIEF
Negligence (Cal. Govt. Code § 810 and California Common Law)
(Wrongful Death)
(Against All Defendants)
29. Plaintiff re-alleges and incorporates by reference herein each and every

allegation contained herein above as though fully set forth and brought in this cause of
action.

30. Police officers, such as Los Angeles Police Department officers DOES 1-10,
have a duty to use reasonable care to prevent harm or injury to others, such as
DECEDENT. This duty includes, among other things, using appropriate tactics, not using
force unless necessary, using less than lethal options, giving appropriate commands and
warnings prior to using deadly force, and only using deadly force as a last resort.

31. Onor about January 14, 2018, CITY of LOS ANGELES Police Officers,
including DOES 1-10, were acting within the course and scope of their employment with
the Los Angeles Police Department, when they negligently used excessive and deadly
force when they shot and killed DECEDENT.

32. Defendants CITY of LOS ANGELES, and DOES 1-10, knew that by acting
as sworn officers under the color of law, they were charged with ensuring the safety and
well-being of DECEDENT. The actions and inaction of Defendants CITY of LOS
ANGELES, and DOES 1-10, were negligent and reckless. The duty to protect and ensure
the safety of residents, such as DECEDENT, including but not limited to:

a. The duty to properly train City of Los Angeles Police Officers, such as
DOES 1-10, in conformity with POST training standards regarding proper
police tactics, proper use of force, proper use of deadly force, and proper
detention and arrest procedures to protect and ensure the safety of residents,
of the City of Los Angeles, such as DECEDENT.

b. The duty to properly train City of Los Angeles Police Officers, such as

DOES 1-10, to de-escalate situations and interactions with City of Los

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COMPLAINT FOR DAMAGES

 
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Angeles residents so as to avoid the use of force, and the use of deadly force
to protect and ensure the safety of residents of the City of Los Angeles, such
as DECEDENT.

33. The duty to protect and ensure the safety of the residents of the City of Los
Angeles, such as DECEDENT, were breached by the acts and omissions of Defendants
CITY of LOS ANGELES, and DOES 1-10, by inter alia:

a. The negligent failures to properly train City of Los Angeles Police
Officers, such as DOES 1-10, by the CITY of LOS ANGELES, caused
Los Angeles Police Department Officers, such as DOES 1-10, to escalate
their interactions with residents and to overreact and resort to use of
deadly force when use of force is not necessary.

b. The negligent failures of DOES 1-10, to properly and adequately assess
the need to use deadly force, against DECEDENT, when DOES 1-10
approached DECEDENT, and the negligent handling of the situation
when DECEDENT was killed by DOES 1-10, including the pre-shooting
lack of situational awareness by DOES 1-10 because DECEDENT was
asleep around 6:00-6:30 a.m. in the morning, in a sidewalk/driveway,
leaning against a tree planter, in an area where students park their cars,
when Officers DOES 1-10, who were not properly trained by CITY, came
up to DECEDENT and started shooting immediately at DECEDENT.

c. The negligent communication of information by DOES 1-10 before and
during the incident, which was also part of the negligent failures of the
situational awareness by DOES 1-10.

d. The use of deadly force by DOES 1-10 when none was necessary.

e. The negligent detention, arrest, and use of force, including deadly force,
by DOES 1-10 against DECEDENT.

f. The negligent failure to provide and/or summon prompt medical care to

DECEDENT by DOES 1-10.

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COMPLAINT FOR DAMAGES

 
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g. The negligent failures of the CITY of LOS ANGELES to properly train
and supervise its Police Officers, such as DOES 1-10.

h. The failure to ensure that adequate numbers of Police Officers with
appropriate POST education and POST training were available to ensure
the safety of DECEDENT.

i. The negligent handling of evidence, witnesses, and negligent failures of
the CITY of LOS ANGLES in the investigation of the death of

~ DECEDENT.

34. Onor about January 14, 2018, Defendant CITY, its Police Officers, such as
DOES 1-10, acting within the course and scope of their employment with the Los Angeles
Police Department, negligently used deadly force against DECEDENT and shot and killed
DECEDENT. The actions of the Defendants DOES 1-10 were negligent and breached the
duties owed to DECEDENT and Plaintiffs ELIZABETH MEDRANO, and ALFREDO
ESCOBEDO.

35. Asa direct and proximate result of the conduct of Defendants CITY of LOS
ANGELES, and DOES 1-10 as alleged above, DECEDENT was caused to suffer severe
pain and suffering and ultimately died as a result of the shooting by DOES 1-10, and lost
earning capacity. As a direct and proximate result of Defendants’ conduct as alleged
above, Defendants CITY of LOS ANGELES, and DOES 1-10 caused the wrongful death
of DECEDENT. Also, Plaintiffs ELIZABETH MEDRANO, and ALFREDO ESCOBEDO
have suffered the loss of the life-long love, companionship, comfort, care, assistance,
support, protection, affection, society, and moral support of DECEDENT, and will
continue to be so deprived for the remainder of their natural lives.

36. Defendant CITY of LOS ANGELES is vicariously liable for the negligent
and wrongful acts of DOES 1-10 pursuant to section 815.2 of the California Government
Code, which provides that a public entity is liable for the injuries caused by its employees
within the scope of the employment if the employee’s act would subject him or her to

liability.

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COMPLAINT FOR DAMAGES

 
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SECOND CLAIM FOR RELIEF
Battery (Cal. Govt. Code § 810 and California Common Law)
(Wrongful Death)
(Against All Defendants)

37. Plaintiffs re-allege and incorporate by reference herein each and every
allegation contained herein above as though fully set forth and brought in this cause of
action.

38. CITY Police Officers, DOES 1-10, while working as Police Officers for the
Los Angeles Police Department, and acting within the course and scope of their duties,
negligently shot DECEDENT. As a result of the actions of DOES 1-10, DECEDENT
suffered severe pain and suffering and ultimately died from his injuries and lost earning
capacity. CITY Police Officers, had no legal justification for using force against
DECEDENT, and said Defendant’s use of force while carrying out their police officer
duties was an unreasonable use of force, especially since DECEDENT was not an
imminent threat to DOES 1-10.

39. Plaintiffs ELIZABETH MEDRANO and ALFREDO ESCOBEDO have
suffered the loss of the life-long love, companionship, comfort, care, assistance, support,
protection, affection, society, and moral support of DECEDENT, and will continue to be
so deprived for the remainder of their natural lives. Plaintiffs are also seeking wrongful
death damages under this claim.

40. Asa direct and proximate result of the conduct as alleged above, CITY is
vicariously liable for the wrongful acts of the Los Angeles Police Department Officers,
pursuant to section 815.2(a) of the California Government Code, which provides that a
public entity is liable for the injuries caused by its employees within the scope of the
employment if the employee’s act would subject him or her to lability.

THIRD CLAIM FOR RELIEF
VIOLATION OF FEDERAL CIVIL RIGHTS [42 U.S.C. § 1983])
(Against All Defendants and DOES 1-10)

41. Plaintiffs re-allege and incorporate by reference herein each and every

allegation contained herein above as though fully set forth in this cause of action.

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COMPLAINT FOR DAMAGES

 
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42. This cause of action is to redress a deprivation, under color of authority,
statute, ordinance, regulation, policy, custom, practice or usage of a right, privilege and
immunity secured to Plaintiffs by the Fourth, Eighth and Fourteenth Amendments to the
United States Constitution.

43. Defendant CITY of LOS ANGELES, and DOES | through 10, and each of
them, owed a duty under Federal law to protect the civil rights of DECEDENT.

44. Plaintiffs contend and herein allege that Defendants CITY of LOS
ANGELES, and DOES 1 through 10, and each of them, breached these aforementioned
duties intentionally and in violation of the civil rights of DECEDENT and Plaintiffs, in
relation to all their interactions with DECEDENT, on January 14, 2018, including, but not
limited to, use of excessive and deadly force upon DECEDENT when DECEDENT was
not an imminent threat to DOES 1-10.

45. Plaintiffs contend and herein allege that Defendant CITY of LOS
ANGELES, and Does | through 10, and each of them, breached these aforementioned
duties, which constituted violations of the Federal civil rights of the DECEDENT
CHRISTIAN ESCOBEDO, in violation of 42 U.S.C. § 1983 of the Fourth and Fourteenth
Amendments of the United States Constitution.

46. Plaintiffs contend and herein allege that Defendants CITY of LOS
ANGELES, and DOES 1-10 use of excessive and deadly force upon the DECEDENT,
who was not an imminent threat to DOES 1-10, was the legal cause of the DECEDENT’s
death on January 14, 2018.

47. On January 14, 2018, Defendants CITY of LOS ANGELES and DOES 1-10
violated the DECEDENT’s civil rights under the Fourth, Eighth and Fourteenth
Amendments to the United States Constitution to be free from unreasonable search and
seizure of his person, cruel and unusual punishment, nor the deprivation of life and liberty
and denial of due process of law. The violation was under color of State and Federal law.
Defendants CITY of LOS ANGELES and DOES 1-10, and each of them, acted in
violation of the Fourth, Eighth and Fourteenth Amendment of the United States
Constitution, when the DECEDENT was subjected to excessive force and killed by
Defendants DOES 1-10.

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48. DECEDENT had a cognizable interest under the Due Process Clause of the
Fourteenth Amendment of the United States Constitution to be free from state actions that
deprive him of his right to life, liberty, or property in such a manner as to shock the
conscience.

49. Asaresult of the uses of excessive force by Los Angeles Police Officers the
DECEDENT died. Plaintiffs ELIZABETH MEDRANO and ALFREDO ESCOBEDO
were thereby deprived of their constitutional right of familial relationship with their son
DECEDENT.

50. Defendants CITY of LOS ANGELES and DOES 1-10, and each of their
actions as aforesaid above, directly and proximately caused constitutional injuries and
damages to DECEDENT and to Plaintiffs ELIZABETH MEDRANO and ALFREDO
ESCOBEDO, set forth herein.

51. Defendant CITY of LOS ANGELES and DOES 1-10, are liable for the
violation of the civil rights of DECEDENT and Plaintiffs ELIZABETH MEDRANO and
ALFREDO ESCOBEDO; and which was also caused by the customs, policies and
practices of the Defendant CITY of LOS ANGELES.

52. Asadirect and proximate result of the conduct of the Defendant CITY of
LOS ANGELES and DOES 1-10, and each of them, the DECEDENT suffered the
following injuries and damages for which Plaintiffs may recover:

a. Violation of DECEDENT’s Constitutional Rights under the Fourth, Eighth
and Fourteenth Amendments to the United States Constitution to be free
from unreasonable search and seizure of his person, cruel and unusual
punishment, nor the deprivation of life and liberty and denial of due process
of law;

b. Loss of life of DECEDENT, CHRISTIAN ESCOBEDO;

c. Conscious physical pain, suffering and emotional trauma suffered by
DECEDENT during the incident on January 14, 2018.

53. Asadirect and proximate result of the conduct of the Defendants CITY of
LOS ANGELES and DOES 1 through 10, Plaintiffs ELIZABETH MEDRANO and
ALFREDO ESCOBEDO have suffered the loss of the life-long love, companionship,

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comfort, care, assistance, support, protection, affection, society, and moral support of
DECEDENT, and will continue to be so deprived for the remainder of their natural lives.

54. Pursuant to 42 U.S.C. § 1988, Plaintiffs are entitled to an award of attorneys’
fees, costs and expenses as a result of the violations of DECEDENT and Plaintiffs’ civil
rights by Defendants CITY OF LOS ANGELES and DOES 1-10, and the constitutional
injuries caused by Defendants CITY OF LOS ANGELES and DOES 1-10.

FOURTH CLAIM FOR RELIEF
Municipal Liability — Failure to Train (42 U.S.C. § 1983)
(By Plaintiffs Against All Defendants)

55. Plaintiffs re-allege and incorporate by reference herein each and every
allegation contained herein above as though fully set forth and brought in this cause.

56. Defendant CITY police officers, DOES 1-10, acted under color of law and
violated the rights of DECEDENT and Plaintiffs when DOES 1-10 shot and killed
DECEDENT on January 14, 2018.

57. The acts of Defendant CITY and DOES 1-10, deprived DECEDENT and
Plaintiffs of their civil rights guaranteed under the United States Constitution.

58. The negligent and unjustified use of deadly force by the CITY Officers,
DOES 1-10, was a result of the negligent training by the CITY who failed to train CITY
Officers as to proper police tactics, proper use of force, proper use of deadly force, and
proper detention and arrest procedures. The CITY was responsible for the training of
CITY Officers to ensure that the actions, procedures, and practices of Officers DOES 1-10
complied with Peace Officer Standards and Training (POST) training standards regarding
proper police tactics, and proper use of deadly force.

59. The CITY, negligently failed to train CITY officers to comply with POST
training standards regarding proper police tactics, proper use of force, proper use of
deadly force, and proper detention and arrest procedures. POST was established by the
California Legislature in 1959 to set minimum training standards for California police
officers. The training policies of CITY were not adequate to train its police officers to

handle the usual and recurring situations with residents that DOES 1-10 have contact with.

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60.

The training policies of the CITY were deficient in the following ways:

a. The CITY failed to properly train City of Los Angeles Police Officers,

such as DOES 1-10, so that Officers, such as DOES 1-10, do not escalate
their interactions with residents and do not everreact and resort to use of

deadly force when the use of force was not necessary.

. The CITY failed to properly train City of Los Angeles Police Officers,

such as DOES 1-10, so that Officers, such as DOES 1-10, do not permit
fear to reach the point of becoming unreasonable fear which would result
in the use of deadly force to cause the death of residents, such as
DECEDENT. This was a part of the CITY’s negligent failure to train
DOES 1-10 to properly and adequately assess the need to use deadly force
against DECEDENT.

. On January 14, 2018, DECEDENT was asleep around 6:00-6:30 a.m. in

the morning, in a sidewalk/driveway, leaning against a tree planter, in an
area where students park their cars, when Officers DOES 1-10, who were
not properly trained by CITY, came up to DECEDENT and started
shooting immediately at DECEDENT.

. The CITY failed to properly train City of Los Angeles Police Officers,

such as DOES 1-10, in proper police tactics, such as situational
awareness so that Officers, such as DOES 1-10, do not utilize negligent
tactics, such as when DOES 1-10 approached DECEDENT and his friend,
who were asleep around 6:00-6:30 a.m. in the morning, ina
sidewalk/driveway in the area where students park their cars. Because of
this lack of proper training by the CITY, DOES 1-10 did not use proper
police tactics in handling of the contact with DECEDENT, and DOES 1-
10 used defective police tactics, including the pre-shooting lack of
situational awareness by DOES 1-10. These defective tactics resulted in

the shooting by DOES 1-10 that killed DECEDENT.

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e. The CITY failed to properly train City of Los Angeles Police Officers,
such as DOES 1-10, so that Officers, such as DOES 1-10, would be
trained in the importance of effective communication prior to using
deadly force.

f. Because of the lack of proper training by the CITY, DOES 1-10 did not
use effective communication prior to and during the shooting of
DECEDENT. The ineffective communication of information by DOES I-
10, prior to and during the incident, resulted in the shooting by DOES 1-

10 that killed DECEDENT.

61. The failure to properly train police officers by the Defendant CITY of LOS
ANGELES was the driving force that caused DOES 1-10 to shoot and kill DECEDENT;
and had DOES 1-10 been properly trained, DECEDENT would not have been shot and
killed by DOES 1-10. The failure to properly train police officers by the Defendant CITY
of LOS ANGELES manifests a deliberate indifference to the violations of civil rights, and
is the resulting consequence of a failure to train Los Angeles police Officers by the CITY.

62. The failure of Defendant CITY to provide adequate training caused the
deprivation of the Plaintiffs’ rights by the Los Angeles Police Department; that is, the
Defendant’s failure to train is so closely related to the deprivation of Plaintiffs’ civil rights
as to be the moving force that caused the ultimate death of DECEDENT.

63. Plaintiffs are informed and believe that the Decedent’s death came about as a
result of the CITY’s lack of implementation of proper training for DOES 1-10. Had the
Defendants DOES 1-10 been properly trained, and had such training been properly
implemented, this incident would have been avoided.

64. By reason of the aforementioned acts and omissions, Plaintiffs have suffered
the loss of the love, companionship, affection, comfort, care, society, training, guidance,
and moral support of DECEDENT. The aforementioned acts and omissions also caused
DECEDENT’s pain and suffering, loss of enjoyment of life, and death.

65. Accordingly, Defendants CITY, and DOES 1-10 each are liable to Plaintiffs
for compensatory damages under 42 U.S.C. § 1983.

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66. Plaintiffs bring this claim in each cause of action as a successors-in-interest
to DECEDENT, and seek both survival and wrongful death damages under this claim.

67. Pursuant to 42 U.S.C. § 1988, Plaintiffs are entitled to an award of attorneys’
fees, costs and expenses as a result of the violations of DECEDENT and Plaintiffs’ civil
rights by Defendants CITY OF LOS ANGELES and DOES 1-10, and the constitutional
injuries caused by Defendants CITY OF LOS ANGELES and DOES 1-10.

FIFTH CLAIM FOR RELIEF
Municipal Liability for Unconstitutional Custom or Policy (42 U.S.C. § 1983)
(Against All Defendants)

68. Plaintiffs re-allege and incorporate by reference herein each and every
allegation contained herein above as though fully set forth and brought in this cause of
action.

69. On information and belief, the CITY of LOS ANGELES made a formal
decision that the shooting of DECEDENT was found to be “within policy” of the Los
Angeles Police Department, notwithstanding that DECEDENT was not an imminent
threat to DOES 1-10 at the moment he was shot by DOES 1-10. It is the custom, practice,
and policy of the CITY of LOS ANGELES to find 99% of fatal shootings by LAPD
Officers to be “within policy” and this manifests a deliberate indifference to the civil
rights of the residents of the City of Los Angeles.

70. Defendant CITY of LOS ANGELES, and its Police Department management
executives, ratified, acquiesced, and condoned the killing of DECEDENT by DOES 1-10.

71. On information and belief, Defendant CITY police officers, DOES 1-10,
were not disciplined, and were not given additional training, after the fatal shooting of
DECEDENT, which evidences ratification and acquiescence in the fatal shooting of
DECEDENT by DOES 1-10.

72. Onand for some time prior to January 14, 2018, and continuing to the present
date, Defendants CITY of LOS ANGELES and DOES 1-10, deprived Plaintiffs and
DECEDENT of the rights and liberties secured to them by the Fourth and Fourteenth
Amendments to the United States Constitution, in that said Defendants and their

supervising and managerial employees, acting with deliberate indifference to the rights

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and liberties of the residents of the City of Los Angeles, and of Plaintiffs and

DECEDENT, knowingly maintained, enforced, and applied an official recognized custom,

policy, and practice of:

(a)

(b)

(c)

(d)
(e)

(f)

(g)

(h)

Employing and retaining as CITY Police Officers, such as DOES 1-10,
who the CITY knew, or reasonably should have known, had dangerous
propensities for abusing their authority and for using excessive force,
and using excessive deadly force;

Of inadequately supervising, training, and disciplining CITY Police
Officers, such as DOES 1-10, who Defendant CITY knew, or
reasonably should have known, had dangerous propensities for abusing
their authority and for using excessive force, and using excessive
deadly force;

By maintaining grossly inadequate procedures for reporting,
supervising, investigating, reviewing, disciplining the intentional
misconduct of Defendant CITY police officers, such as DOES 1-10;

By failing to discipline CITY Police Officers, such as DOES 1-10, for
conduct such as unlawful detention and excessive use of deadly force;
By ratifying the misconduct of Defendant CITY police officers such as
DOES 1-10, for conduct such as excessive use of deadly force;

By having and maintaining an unconstitutional policy, custom, and
practice of detaining and arresting individuals without probable cause,
and using excessive force, including deadly force, which also is
demonstrated by inadequate training regarding these subjects. The
policies, customs, and practices of DOES 1-10, were done with a
deliberate indifference to the safety and rights of Plaintiffs and
DECEDENT;

By failing to properly investigate incidents of excessive use of deadly
force by CITY Police Officers, such as DOES 1-10; and,

By failing to remove “problem” LAPD Officers from patrol duties.

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73. It is the policy, custom, and practice of Defendant CITY of LOS ANGELES
to not objectively investigate complaints of previous incidents of wrongful shootings,
excessive use of deadly force, illegal arrests, falsification of police reports, and instead, to
officially claim that such incidents are justified and proper.

74. The policies, customs, and practices of Defendant CITY of LOS ANGELES
do in fact encourage LAPD officers, such as DOES 1-10, to believe that wrongful
shootings, excessive use of deadly force against residents, illegal arrests, fabrication of
police reports, is permissible and will be permitted by Defendant CITY of LOS
ANGELES. DOES 1-10 were aware of the policies, customs, and practices of Defendant
CITY and DOES 1-10 used excessive deadly force against DECEDENT. These policies
and customs of CITY was the driving force that caused DOES 1-10 to shoot and kill
DECEDENT.

75. Other systemic deficiencies, policies, customs, and practices which indicated,
and continue to indicate, a deliberate indifference to the violations of the civil rights by the
CITY’s police Officers, such DOES 1-10, that Defendant CITY of LOS ANGELES was
aware of, and has condoned and ratified include;

a. Preparation of investigative reports designed to vindicate the use of excessive
use of force, regardless of whether such force was justified;

b. Preparation of investigative reports which uncritically rely solely on the word
of LAPD officers involved in the assault, battery, excessive use of force
incidents and which systematically fail to credit testimony by non-police
witnesses;

c. Preparation of investigative reports which omit factual information and
physical evidence which contradicts the accounts of the officers involved;

d. Issuance of public statements exonerating officers involved in such incidents
prior to the completion of investigations of the excessive use of force;

e. Failure to objectively and independently review investigative reports by
responsible superior officers for accuracy or completeness and acceptance of
conclusions which are unwarranted by the evidence of the wrongful shooting,
assault, excessive use of deadly force, or which contradict such evidence.

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76. Byreason of the aforementioned policies and practices of Defendant CITY of
LOS ANGELES, and DOES 1-10, DECEDENT was fatally shot, injured and subjected to
pain and suffering and lost his life.

77. Defendants DOES 1-10, together with various other officials, whether named
or unnamed, had either actual or constructive knowledge of the deficient policies,
practices and customs alleged in the paragraphs above. Despite having knowledge as
stated above these defendants condoned, tolerated and through actions and inactions
thereby ratified such policies. Said defendants also acted with deliberate indifference to
the foreseeable effects and consequences of these policies with respect to the
constitutional rights of DECEDENT, Plaintiffs, and other individuals similarly situated.

78. By perpetrating, sanctioning, tolerating and ratifying the outrageous conduct
and other wrongful acts, Defendants DOES 1-10, acted with an intentional, reckless, and
callous disregard for the life of DECEDENT, and DECEDENT and Plaintiffs’
constitutional rights. Defendants DOES 1-10’s, actions were reckless and negligent.
Furthermore, the policies, practices, and customs implemented and maintained and still
tolerated by Defendants DOES 1-10, were affirmatively linked to and were a significantly
driving force behind the injuries of DECEDENT and Plaintiffs.

79. Because of the policies, customs, and practices of Defendant CITY of LOS
ANGELES, Defendants DOES 1-10 shot and killed DECEDENT.

80. By reason of the aforementioned acts and omissions of Defendants CITY OF
LOS ANGELES and DOES 1-10, Plaintiffs have suffered loss of love, companionship,
affection, comfort, care, society, guidance, and moral support of DECEDENT.

81. Accordingly, Defendants CITY OF LOS ANGELES and DOES 1-10, are
liable to Plaintiffs for compensatory damages under 42 U.S.C. § 1983.

82. Plaintiff seeks both wrongful death and survival damages under this claim.

83. Pursuant to 42 U.S.C. § 1988, Plaintiffs herein are entitled to an award of
attorneys’ fees, costs and expenses as a result of the violations of DECEDENT and
Plaintiffs’ civil rights by Defendants CITY OF LOS ANGELES and DOES 1-10, and the
constitutional injuries caused by Defendants CITY OF LOS ANGELES and DOES 1-10.

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SIXTH CLAIM FOR RELIEF
Violation of Bane Act (Cal. Civil Code § 52.1 and California Common Law)
(Against All Defendants)

84. Plaintiffs re-allege and incorporate by reference herein each and every
allegation contained herein above as though fully set forth and brought in this cause of
action.

85. California Civil Code, Section 52.1 (the Bane Act), applies to this complaint
with the same force and effect as fully set forth herein:

a. Ifa person or person, whether or not acting under color of law, interferes by
threat, intimidation, or coercion, or attempts to interfere by threat,
intimidation, or coercion, with the exercise or enjoyment by any individual or
individuals or rights secured by the Constitution or laws of the United States,
or of the rights secured by the Constitution or laws of this state... a civil
action for injunctive and other appropriate equitable relief may be brought.

86. Any individual whose exercise or enjoyment of rights secured by the
Constitution or laws of this state, has been interfered with, as described in subdivision (a),
may institute and prosecute in his name and on his own behalf a civil action for damages,
including but not limited to, damages under Section 52, injunctive relief, and other
appropriate equitable relief to protect the peaceable exercise or enjoyment of the rights
secured, including appropriate equitable and declaratory relief to eliminate a pattern or
practice of conduct as described in subdivision (a).

87. The Bane Act, the California Constitution and California common law
prohibit the use of excessive force by law enforcement. California Civil Code, Section
52.1(b) authorizes a private right of action and permits survival actions for such claims.
See Bay Area Rapid Transit Dist. v. Superior Court, 38 Cal.App.4th 141, 144 (1995). “[A]
successful claim for excessive force under the Fourth Amendment provides the basis for a
successful claim under § 52.1.” Chaudhry v. City of Los Angeles, 751 F.3d 1096, 1105-06
(9th Cir. 2014); citing Cameron v. Craig, 713 F.3d 1012, 1022 (9th Cir.2013) (“[T]he
elements of the excessive force claim under § 52.1] are the same as under § 1983.”);
Bender v. Cnty. of L.A., 217 Cal.App.4th 968, 976 (2013) (“an unlawful [seizure]—when

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accompanied by unnecessary, deliberate and excessive force—is [] within the protection
of the Bane Act”).

88. DOES 1-10 violated DECEDENT’s Fourth Amendment rights to be free
from unreasonable seizures when DOES 1-10 used excessive and unreasonable force
against him, killing him.

89. DECEDENT was caused to suffer severe pain and suffering and ultimately
died for which he, by Plaintiffs as his successors-in-interest, is entitled to recover survival
damages.

90. The conduct of Defendants DOES 1-10 was a substantial factor in causing
the harm, losses, injuries, and damages of DECEDENT.

91. CITY OF LOS ANGELES is vicariously liable for the wrongful acts of
DOES 1-10 pursuant to section 815.2(a) of the California Government Code, which
provides that a public entity is liable for the injuries caused by its employees within the
scope of the employment if the employee’s acts would subject him or her to liability.

92. Plaintiffs also seek costs and attorney fees under this claim pursuant to
subsection (h).

PRAYER FOR RELIEF
WHEREFORE, Plaintiffs request entry of judgment in their favor and against
Defendants CITY OF LOS ANGELES, and DOES 1-10, inclusive, as follows:

A. For compensatory damages, including both survival damages and
wrongful death damages under federal and state law, in the amount to
be proven at trial;

For funeral and burial expenses;

For interest;

For other general damages in an amount according the proof at trial;
For other special damages in an amount according to proof at trial;
For reasonable costs of this suit;

Attorneys fees pursuant to 42 U.S.C. § 1988;

‘Attorneys fees and costs pursuant to California Civil Code, Section
52.1 subsection (h). The Bane Act.

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I. For such further other relief as the Court may deem just, proper, and

appropriate.

Dated: November 6, 2018

CARRILLO LAW FIRM, LLP

Attorneys for Plaintiffs

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DEMAND FOR JURY TRIAL

The Plaintiffs named herein hereby demand a trial by jury.

Dated: November 6, 2018 CARRILLO LAW FIRM, LLP

|

Luis A. Carrillo, Esq., —*
Attorneys for Plaintiffs

 

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